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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No.
                                                                  )
                   RUBEN VERASTIGUI                               )
                    DOB: (   /1993)                               )
                                                                  )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           April 1, 2020 - February 5, 2021    in the county of                                  in the
                       District of           Columbia         , the defendant(s) violated:

            Code Section                                                    Offense Description
                                 Knowingly received any visual depiction using any means or facility of interstate or foreign commerce
18 U.S.C. Section 2252A
                                 or that has been mailed, or has been shipped or transported in or affecting interstate or foreign
(a)(2);
                                 commerce, or which contains materials which have been mailed or so shipped or transported, by any
18 U.S.C. Section 2252A          means including by computer;
(a)(5)(B).                       Knowingly possessed, or knowingly accessed with intent to view, any book, magazine, periodical, film,
                                 videotape, computer disk, or any other material that contains an image of child pornography that has
                                 been mailed, or shipped or transported using any means or facility of interstate or foreign commerce or
                                 in or affecting interstate or foreign commerce by any means, including by computer, or that was
                                 produced using materials that have been mailed, or shipped or transported in or affecting interstate or
                                 foreign commerce by any means, including by computer.
         This criminal complaint is based on these facts:

                              SEE ATTACHED STATEMENT OF OFFENSE




         ✔ Continued on the attached sheet.
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                                                                                             Complainant’s signature

                                                                                 Raymond Abruzzese, Special Agent, HSI
                                                                                              Printed name and title

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February1                                                                            Digitally signed
                                                                                          by G. Michael
Date:          02/05/2021                                                                 Harvey
                                                                                                Judge’s signature

City and state:                         Washington, D.C.                        G. Michael Harvey, U.S. Magistrate Judge
                                                                                              Printed name and title
